               Case 2:11-cr-00026-KJD-LRL           Document 47          Filed 07/20/11     Page 1 of 2
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                                                                          U.S.D ISTRICT COURT
v                                                                         ojsynlcy oF NEVADA
      1                                                                 FILE          AFTER HOUR:
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                                                                               JLL 2 () 2211
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      4                                                                cksnK,u.s.DlsrnlcT cotm '
                                                                          DlsTRlcT OF NEVADA
      5                                                           Bv                           oEpun

      6                               UNITED STATES DISTRICT COURT
      7                                       DISTRICT O F NEVADA

      8 UNITED STATESOF AM ERICA,                           )
                                                            )
      9                          Plaintiff,                 )
                                                            )
     10           v.                                        )             2:11-CR-0O26-KJD (LRL)
                                                            )
     11 CAROLm E DELLAVALLE,                                )
                                                            )
     12                          Defendant.                 )
     13                                 FINAL O RDER OF FORFEITURE
     14           On April 19,2011,the United States DistrictCourtforthe DistrictofNevada entered a

     15 PreliminaryOrderofForfeiturepursuanttoFed.R,Crim .P.32.2(b)(1)and (2);Title21,United
     16 StatesCode,Section 853(a)(1)and(2),based uponthepleaofguilty by defendantCAROLINE
     17 DELLAVALLE to a criminaloffensc,forfeiting specitk property alleged in the Indictm entand
     l8 agreedto in thePleaM em orandum and shownbytheUnited Statesto havearequisitenexustothe
     19 offensetowhichdefendantCAROLm E DELLAYALLE pledguilty Docket#28,//30,#32,#33.
                                                                                  .                        .
                                                                                                               l
     20           This Courtfinds the United States of Am erica published the notice ofthe forfeiture in
                                                                                                               I
     21 accordance with the 1aw via the ofticialgovernmentinternetforfeiture site, w w wvforfeiture.gov,
     22                                                                                                        l
       ' consecutivelyfrom April24,2011,throughtoMay23,2011,notifyinga11knownthirdpartiesof                    1
                                                                                                               1
     23 theirrightto petitiontheCourt,//37.                                                                    1
                                                                                                               i
     24         n isCourtfindsno petition wasliled hereinby oronbehalfofanyperson orentityandthe               i
                                                                                                               :
     25 tim e for lillng such petitions and claim shas expired.
     26
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                   Case 2:11-cr-00026-KJD-LRL        Document 47         Filed 07/20/11   Page 2 of 2
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          1          ThisCourtlindsnopetitionsarependingwithregardtotheassetsnamedhereinandthetim e
          2 forpresenting such petitionshasexpired.

          3          THEREFORE,IT IS HEREBY ORDERED,ADIUDOED , AND DECREED thata11right,
          4 title,and interestin the property hereinaierdescribed iscondemned, forfeited,and vested in the

          5 United StatesofAmericapursuantto Fed.R,Crim.P.32.2(b)(4)(A)and (B);Fed,R.Crim.P.
          6 32.2(c)(2);Titlezl,UnitedStatesCode,Section853(a)(1)and(2);andTitlezl,UnitedStatesCode,
          7 Sedion 853(n)(7)andshallbedisposedofaccordingtolaw:
          8          a)     $905.00inUnitedStatescurrency.
          9          IT IS FURTHER ORDERED,ADJUDGED,AND DECREED thatany and allforfeited
         10 funds,including butnotlim ited to,currency,currency equivalents, certiticatesofdeposit,asw ell

         11 asany incom e derived asa resultoftbeUnited StatesofAm erica'smanagementofany property
         12 forfeited hereinsand the proceeds from the sale ofany forfeited property shallbe disposed of

         13 according to law.
         14          TheClerk ishereby directed to send copiesofthisOrderto al1cotmselofrecord and three
         15 certified copiesto the United StatesAttorney'sOffice.
                                   Q QW''X
         16         DATEDthis      '
                                            dayof ...
                                                    1ts-k-              ,2011.
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                                                       UNITED STATES DISTRICT JUDGE
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